Case 1:25-cv-00039-JJM-PAS   Document 68-2   Filed 02/07/25   Page 1 of 4 PageID #:
                                    1047




                   Thomas-Jensen
                    Affirmation



                         Exhibit # 2
                                                     Case 1:25-cv-00039-JJM-PAS                               Document 68-2                  Filed 02/07/25              Page 2 of 4 PageID #:
                                                                                                                     1048
                                                                 Federal Register / Vol. 90, No. 18 / Wednesday, January 29, 2025 / Presidential Documents                                  8339

                                                                                                    Presidential Documents



                                                                                                    Executive Order 14151 of January 20, 2025

                                                                                                    Ending Radical and Wasteful Government DEI Programs and
                                                                                                    Preferencing


                                                                                                    By the authority vested in me as President by the Constitution and the
                                                                                                    laws of the United States of America, it is hereby ordered:
                                                                                                    Section 1. Purpose and Policy. The Biden Administration forced illegal
                                                                                                    and immoral discrimination programs, going by the name ‘‘diversity, equity,
                                                                                                    and inclusion’’ (DEI), into virtually all aspects of the Federal Government,
                                                                                                    in areas ranging from airline safety to the military. This was a concerted
                                                                                                    effort stemming from President Biden’s first day in office, when he issued
                                                                                                    Executive Order 13985, ‘‘Advancing Racial Equity and Support for Under-
                                                                                                    served Communities Through the Federal Government.’’
                                                                                                    Pursuant to Executive Order 13985 and follow-on orders, nearly every Federal
                                                                                                    agency and entity submitted ‘‘Equity Action Plans’’ to detail the ways that
                                                                                                    they have furthered DEIs infiltration of the Federal Government. The public
                                                                                                    release of these plans demonstrated immense public waste and shameful
                                                                                                    discrimination. That ends today. Americans deserve a government committed
                                                                                                    to serving every person with equal dignity and respect, and to expending
                                                                                                    precious taxpayer resources only on making America great.
                                                                                                    Sec. 2. Implementation. (a) The Director of the Office of Management and
                                                                                                    Budget (OMB), assisted by the Attorney General and the Director of the
                                                                                                    Office of Personnel Management (OPM), shall coordinate the termination
                                                                                                    of all discriminatory programs, including illegal DEI and ‘‘diversity, equity,
                                                                                                    inclusion, and accessibility’’ (DEIA) mandates, policies, programs, pref-
                                                                                                    erences, and activities in the Federal Government, under whatever name
                                                                                                    they appear. To carry out this directive, the Director of OPM, with the
                                                                                                    assistance of the Attorney General as requested, shall review and revise,
                                                                                                    as appropriate, all existing Federal employment practices, union contracts,
                                                                                                    and training policies or programs to comply with this order. Federal employ-
                                                                                                    ment practices, including Federal employee performance reviews, shall re-
                                                                                                    ward individual initiative, skills, performance, and hard work and shall
                                                                                                    not under any circumstances consider DEI or DEIA factors, goals, policies,
                                                                                                    mandates, or requirements.
                                                                                                      (b) Each agency, department, or commission head, in consultation with
                                                                                                    the Attorney General, the Director of OMB, and the Director of OPM, as
                                                                                                    appropriate, shall take the following actions within sixty days of this order:
                                                                                                      (i) terminate, to the maximum extent allowed by law, all DEI, DEIA,
                                                                                                      and ‘‘environmental justice’’ offices and positions (including but not lim-
                                                                                                      ited to ‘‘Chief Diversity Officer’’ positions); all ‘‘equity action plans,’’
                                                                                                      ‘‘equity’’ actions, initiatives, or programs, ‘‘equity-related’’ grants or con-
                                                                                                      tracts; and all DEI or DEIA performance requirements for employees, con-
                                                                                                      tractors, or grantees.
khammond on DSK9W7S144PROD with PRESDOC5




                                                                                                       (ii) provide the Director of the OMB with a list of all:
                                                                                                          (A) agency or department DEI, DEIA, or ‘‘environmental justice’’ posi-
                                                                                                       tions, committees, programs, services, activities, budgets, and expenditures
                                                                                                       in existence on November 4, 2024, and an assessment of whether these
                                                                                                       positions, committees, programs, services, activities, budgets, and expendi-
                                                                                                       tures have been misleadingly relabeled in an attempt to preserve their
                                                                                                       pre-November 4, 2024 function;


                                           VerDate Sep<11>2014   15:59 Jan 28, 2025   Jkt 265001   PO 00000   Frm 00001   Fmt 4790   Sfmt 4790   E:\FR\FM\29JAE1.SGM   29JAE1
                                                     Case 1:25-cv-00039-JJM-PAS                               Document 68-2                  Filed 02/07/25              Page 3 of 4 PageID #:
                                                                                                                     1049
                                                8340             Federal Register / Vol. 90, No. 18 / Wednesday, January 29, 2025 / Presidential Documents

                                                                                                        (B) Federal contractors who have provided DEI training or DEI training
                                                                                                       materials to agency or department employees; and
                                                                                                         (C) Federal grantees who received Federal funding to provide or advance
                                                                                                       DEI, DEIA, or ‘‘environmental justice’’ programs, services, or activities
                                                                                                       since January 20, 2021.
                                                                                                       (iii) direct the deputy agency or department head to:
                                                                                                         (A) assess the operational impact (e.g., the number of new DEI hires)
                                                                                                       and cost of the prior administration’s DEI, DEIA, and ‘‘environmental
                                                                                                       justice’’ programs and policies; and
                                                                                                          (B) recommend actions, such as Congressional notifications under 28
                                                                                                       U.S.C. 530D, to align agency or department programs, activities, policies,
                                                                                                       regulations, guidance, employment practices, enforcement activities, con-
                                                                                                       tracts (including set-asides), grants, consent orders, and litigating positions
                                                                                                       with the policy of equal dignity and respect identified in section 1 of
                                                                                                       this order. The agency or department head and the Director of OMB
                                                                                                       shall jointly ensure that the deputy agency or department head has the
                                                                                                       authority and resources needed to carry out this directive.
                                                                                                       (c) To inform and advise the President, so that he may formulate appro-
                                                                                                    priate and effective civil-rights policies for the Executive Branch, the Assist-
                                                                                                    ant to the President for Domestic Policy shall convene a monthly meeting
                                                                                                    attended by the Director of OMB, the Director of OPM, and each deputy
                                                                                                    agency or department head to:
                                                                                                       (i) hear reports on the prevalence and the economic and social costs
                                                                                                       of DEI, DEIA, and ‘‘environmental justice’’ in agency or department pro-
                                                                                                       grams, activities, policies, regulations, guidance, employment practices,
                                                                                                       enforcement activities, contracts (including set-asides), grants, consent or-
                                                                                                       ders, and litigating positions;
                                                                                                       (ii) discuss any barriers to measures to comply with this order; and
                                                                                                      (iii) monitor and track agency and department progress and identify poten-
                                                                                                      tial areas for additional Presidential or legislative action to advance the
                                                                                                      policy of equal dignity and respect.
                                                                                                    Sec. 3. Severability. If any provision of this order, or the application of
                                                                                                    any provision to any person or circumstance, is held to be invalid, the
                                                                                                    remainder of this order and the application of its provisions to any other
                                                                                                    persons or circumstances shall not be affected.
                                                                                                    Sec. 4. General Provisions. (a) Nothing in this order shall be construed
                                                                                                    to impair or otherwise affect:
                                                                                                      (i) the authority granted by law to an executive department or agency,
                                                                                                      or the head thereof; or
                                                                                                      (ii) the functions of the Director of the Office of Management and Budget
                                                                                                      relating to budgetary, administrative, or legislative proposals.
                                                                                                      (b) This order shall be implemented consistent with applicable law and
                                                                                                    subject to the availability of appropriations.
khammond on DSK9W7S144PROD with PRESDOC5




                                           VerDate Sep<11>2014   15:59 Jan 28, 2025   Jkt 265001   PO 00000   Frm 00002   Fmt 4790   Sfmt 4790   E:\FR\FM\29JAE1.SGM   29JAE1
                                                     Case 1:25-cv-00039-JJM-PAS                               Document 68-2                  Filed 02/07/25              Page 4 of 4 PageID #:
                                                                                                                     1050
                                                                 Federal Register / Vol. 90, No. 18 / Wednesday, January 29, 2025 / Presidential Documents                                  8341

                                                                                                      (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                    substantive or procedural, enforceable at law or in equity by any party
                                                                                                    against the United States, its departments, agencies, or entities, its officers,
                                                                                                    employees, or agents, or any other person.




                                                                                                    THE WHITE HOUSE,
                                                                                                    January 20, 2025.


                                                [FR Doc. 2025–01953
                                                Filed 1–28–25; 8:45 am]
                                                Billing code 3395–F4–P
khammond on DSK9W7S144PROD with PRESDOC5




                                                                                                                                                                                                   Trump.EPS</GPH>




                                           VerDate Sep<11>2014   15:59 Jan 28, 2025   Jkt 265001   PO 00000   Frm 00003   Fmt 4790   Sfmt 4790   E:\FR\FM\29JAE1.SGM   29JAE1
